Case 2:05-Cv-02236-.]PI\/|-tmp Document 4 Filed 07/26/05 Page 1 of 2 Page|D 9

H"ED BY -Z@n.c,

UNITED STATES DISTRICT CO§§B
25 PH 1225
WESTERN DISTRICT OF TENN'ESSEE

 

 

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SH.A.RON D. FISHER, JUDGMEN'T IN A CIVIL CASE

Plaintiff,
v¢
INTERNA.TIONAL PAPER, et al., CASE NO= 05-2236 Ml/P

Defendants.

JUDGMEN'T

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDER.ED, ADJUDGED, AND DECREED that, in

accordance with the Order Granting Leave to Proceed §§ Forma
Pauperis, Order of Dismissal, Order Certifying Appeal Not Taken
in Good Faith, and Notice of Appellate Filing Fee entered July
Z'P, 2005, this case is DISMISSED.

AP PROVED :

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JO P. MCCALLA
'I‘ED STA'I‘ES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02236 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

Sharon D. Fisher
7406 Ashley Oaks Drive
i\/lemphis7 TN 38125

Honcrable J on McCalla
US DISTRICT COURT

